Case 3:18-CV-00098-.]AG Document 42 Filed 03/19/19 Page 1 of 5 Page|D# 406

IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
NIKKI A. GARDNER,
Plaintiff,

v. Civil Action No. 3:18-cv-98-JAG
DAVID J. SHULKIN, in his official
capacity as Secretary of the Department of
Veterans Affairs,

Defendant.
OPINION

In July, 2014, the Strategic Acquisition Center (“SAC”) of the Department of Veterans
Affairs (“VA”) fired Nikki A. Gardner, a contract specialist Gardner, an African American
woman with dark skin, has sued David J. Shulkin, the Secretary of the VA, alleging that the VA
discriminated against her in violation of Title VII of the Civil Rights Act of 1964 and the
Rehabilitation Act of 1973. She also seeks to reverse and vacate the decision of the VA’s Merits
Systems Protection Board (“MSPB”). Shulkin has moved to dismiss Gardner’s color claim in
Count One of the amended complaint for lack of subject matter jurisdiction under F ederal Rule
of Civil Procedure lZ(b)(l).l Because the Court has subject matter jurisdiction over that claim,
the Court Will deny the motion to dismiss.

I. BACKGROUND
Gardner began working as a contract specialist with the federal government on March 3,

2011. In March, 2012, Gardner transferred to the SAC. Shortly thereafter, James Poe

transferred to the SAC and became Gardner’s direct supervisor. Gardner says that she never

 

1 Shulkin initially moved to dismiss the following claims: the national origin and color claims
within Count One, Count Five, and Count Seven. Gardner has stipulated to the dismissal of the
national origin claim in Count One, Count Five, and Count Seven. Accordingly, the Court will
only address Gardner’s color claim in Count One.

Case 3:18-CV-00098-.]AG Document 42 Filed 03/19/19 Page 2 of 5 Page|D# 407

experienced discrimination prior to Poe’s arrival, but constantly suffered it afterwards Poe
yelled at Gardner in front of other co-workers, slammed the door in her face, refused to
communicate with her, and acted generally abusively towards her.2 Poe allegedly treated
Gardner’s white, male co-workers with much more respect.

After working in this environment for almost two years, Gardner filed an initial charge of
discrimination with the Equal Employment Opportunity Commission (“EEOC”) on April 4,
2014, Her final amended charge, filed on November ll, 2014, alleged retaliation and
discrimination based on sex, race, and disability. During the administrative investigation,
Gardner reported that she “Was the only dark-skinned black African-American” in her office, and
that the VA “treated darker skinned Woman [sic] of African American decent [sic] differently
than fair skinned African American woman [sic].” (Dk. No. 37-1, at 7.) In June, 2014, the VA
notified Gardner that it would fire her effective July 13, 2014, Af`ter exhausting her
administrative remedies through the MSPB, Gardner received a right to sue letter on October 7,
2016.

Gardner filed suit on November 7, 2016. Her amended complaint asserts seven counts:
(l) race, color, and national origin discrimination in violation of Title VII; (2) reprisal for
engaging in protected activities; (3) violation of the Rehabilitation Act; (4) hostile and abusive
work environment; (5) retaliation; (6) reversal and vacation of the MSPB decision; and (7) fraud
upon the Court. The color discrimination claim within Count One remains the only disputed

count in the pending motion to dismiss.

 

2 In one particularly juvenile example, Poe refused to communicate with Gardner by
outstretching his palm and saying, “talk to my hand.” (Dk. No. 5, at 13.)

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Case 3:18-cV-00098-.]AG Document 42 Filed 03/19/19 Page 3 of 5 Page|D# 408

11. i)IsCUSsloN3

Title VII prohibits employers from firing an employee “because of such individual’s race,
color, religion, sex, or national origin.” 42 U.S.C § 2000e-2(a)(l). A plaintiff must exhaust all
administrative remedies to file suit in federal court under Title VII. See Jones v. Calvert Group,
Ltd., 551 F.3d 297, 300 (4th Cir. 2009). Importantly, a plaintiffs failure to exhaust
administrative remedies deprives a federal court of subject matter jurisdiction. Id.

The content of the administrative charge determines the scope of a plaintiffs right to file
a federal lawsuit See Smith v. First Um`on Nat'l Bank, 202 F.3d 234, 247 (4th Cir. 2000).
Accordingly, a plaintiff may only bring suit in federal court for complaints “stated in the initial
charge, those reasonably related to the original complaint, and those developed by reasonable
investigation of the original complaint.” Evans v. Techs. Applications & Serv. Co., 80 F.3d 954,
963 (4th Cir. 1996); see also Johnson v. Portfolio Recovery Assocs., LLC, 682 F. Supp. 2d 560,
571 (E.D. Va. 2009) (“For example, the plaintiffs claim generally will be barred if [her] charge
alleges discrimination on one basis--such as race_and [she] introduces another basis in formal
litigation-such as sex.”). The Court, therefore, must determine whether the charges Gardner
alleges in her amended complaint “reasonably relate[]” to her EEOC charge and the subsequent
administrative investigation See Smith, 202 F.3d at 247.

Gardner alleges discrimination based on color. Gardner, however, only included charges
of retaliation and discrimination on the basis of sex, race, and disability in her EEOC charge,

Courts have recognized that “there is potential overlap between discrimination based upon race,

 

3 Shulkin has moved to dismiss Gardner’s color claim in Count One under Rule 12(b)(1),
asserting that Gardner failed to exhaust her administrative remedies. See Fed. R. Civ. P.
l2(b)(l). A motion under Rule 12(b)(l) tests the court’s subject matter jurisdiction The
plaintiff bears the burden of proving proper subject matter jurisdiction as the party asserting
jurisdiction Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982).

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Case 3:18-CV-00098-.]AG Document 42 Filed 03/19/19 Page 4 of 5 Page|D# 409

nationality, and color.” Gordon v. Richmond Pub. Sch., No. 3:13cvl 13, 2013 U.S. Dist. LEXIS
106701, at *15 (E.D. Va. July 30, 2013). Courts look to the EEOC charge, the administrative
investigation, and the federal complaint to determine the extent of this “potential overlap.” See
id.; Nieves v. CCC Transp., LLC, No. 3:120v500, 2012 U.S. Dist. LEXIS 127060, at *11 (E.D.
Va. Sept. 6, 2012).

During the administrative investigation, Gardner repeatedly asserted that she “was the
only dark-skinned black African-American” in her office, and her employer “treated darker
skinned woman [sic] of African American decent [sic] differently than fair skinned African
American woman [sic].” (Dk. No. 37-1, at 7.) These assertions sufficiently put the VA on
notice of Gardner’s subsequent color claim. See Nieves v. CCC Transp., LLC, No. 3:12cv500,
2012 U.S. Dist. LEXIS 127060, at * ll (E.D. Va. Sept. 6, 2012) (holding the plaintiffs allegation
that “he was harassed through . . . questions about [his] skin tone . . . and cursed by a White co-
worker,” and his valid national origin charge sufficiently put the defendant on notice of the
plaintiff’s subsequent race claim).

Shulkin relies on the Fourth Circuit’s decision in Bryant v. Bell Atlantic Maryland., Inc.,
288 F.3d 124 (4th Cir. 2002), for the proposition that race and color are categorically distinct
claims. In Bryant, however, the plaintiff tried to assert claims for retaliation, color, and sex
discrimination in his federal complaint when his administrative charge only included race
discrimination Id. at 133. The court concluded that the administrative investigation did not
reveal any facts to support the plaintiffs subsequent claims. Id. In this case, “reasonable
investigation of the original complaint” did reveal allegations of color discrimination, which are
“reasonably related” to Gardner’s original race discrimination charge. See Evans, 80 F.3d at

963. Accordingly, the Court will deny Shulkin’s motion to dismiss.

Case 3:18-CV-00098-.]AG Document 42 Filed 03/19/19 Page 5 of 5 Page|D# 410

III. CONCLUSION
For the reasons stated in this Opinion, the Court will deny Shulkin’s motion to disiniss.
The Court will enter an appropriate Order.

Let the Clerk send a copy oftliis Opinion to all counsel of recoi'd.

 

 

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Richmond, VA Unitcd Statcs Distii`ct Judge

 

 

 

